                                                                        E-FILED; Prince George's Circuit Court
       Case 8:25-cv-01959-PX           Document 1-3 Docket:
                                                      Filed 5/7/2025
                                                            06/18/25 1:45 Page  1 of 33 5/7/2025 1:45 PM
                                                                          PM; Submission:
                                                                                            Envelope: 21107174


      IN THE CIRCUIT COURT FOR PRINCE GEORGE’S COUNTY, MARYLAND

CEONNI DUNN                                          :                                             RS
On her own behalf and on behalf of a
class of similarly situated persons                  :
3009 Liberty Parkway
Dundalk, MD 21222                                    :

        Plaintiff,                                   :       Case No. ________________
                                                                       C-16-CV-25-002472

v.                                                   :       JURY TRIAL DEMAND

SIX FLAGS AMERICA, LP                                :
13710 Central Avenue
Bowie, MD 20721                                      :

        Serve upon:                                  :
        CSC-Lawyers Incorporating Service Co.
        7 St. Paul Street, Suite 820                 :
        Baltimore, MD 21202
                                                     :
and
                                                     :
INTERNATIONAL BOARD OF
CREDENTIALING AND CONTINUING                         :
EDUCATION STANDARDS, LLC
542201 Lem Turner Road                               :
Callahan, FL 32011
                                                     :
        Serve upon:
        Myron W. Pincomb, Resident Agent             :
        542202 Lem Turner Road
        Callahan, FL 32011                           :

        Defendants.                                  :

     CLASS ACTION COMPLAINT AND REQUEST FOR PERMANENT INJUNCTIVE
                                RELIEF

        Ceonni Dunn (“Class Plaintiff Dunn”), on behalf of herself and on behalf of an entire

class of persons similarly situated (“the Class”), by and through her attorneys Clifford J. Boan

and the law firm of Goitein Rosa, LLC, and pursuant to Prince George’s County Code §§ 2-200,

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et seq. (“the Code”), and brings this Class Action Complaint against Defendant Six Flags

America, LP (“Six Flags America”) and the International Board of Credentialing and Continuing

Education Standards, LLC (“IBCCES”), for their individual and joint discriminatory and

negligent acts pertaining to a place of public accommodation in Prince George’s County,

Maryland.

                                          INTRODUCTION

        On June 7, 2024, Class Plaintiff Dunn was ejected from Six Flags America because she

was accompanied in the park by her service animal, a panic attack alert dog. Class Plaintiff

Dunn’s ejectment from the park, which is a place of public accommodation, was based upon Six

Flags’ policy that requires disabled patrons in need of reasonable disability accommodations to

first submit an application for accommodation pre-approval to a private, for-profit, third-party

disability gatekeeper—IBCCES. That application process is intended to screen disabled would-

be park goers for proof and confirmation of their disability, followed by IBCCES approval for

the disabled person to then request (at the park on the day of the visit) a reasonable disability

accommodation from Six Flags America. The IBCCES application requires that the applicants

provide details regarding their disability, the nature of the disability’s limitations, their treating

healthcare providers’ names and contact information, and supporting medical documentation.

        IBCCES and Six Flags America also impose a time requirement on disabled persons. To

be eligible to request a disability accommodation on the day of their park visit, disabled persons

seeking an accommodation must submit an application to IBCCES more than 48 hours in

advance of that park visit. After submitting all required information, if and when a disabled

person is approved by IBCCES, they can still be refused a reasonable accommodation by Six

Flags America, in Six Flags America’s “sole discretion.” Six Flags America’s staff inside the



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park may also deny or revoke a reasonable disability accommodation based upon those staff

members’ subjective belief (based upon their personal observations of the disabled person’s

appearance) as to whether a person is in fact disabled and entitled to the requested

accommodation.

       In the alternative, Six Flags America’s staff are improperly and negligently informed and

trained on the IBCCES and Six Flags America disability policies, thus resulting in the wrongful

ejectment of disabled persons in violation of Defendants’ policies. Thus, the individual and joint

acts of Six Flags America and IBCCES are either discriminatory in policy and as applied to Class

Plaintiff Dunn, or the Defendants are negligent in their implementation of lawful policies.

       This class action is therefore filed pursuant to Rule 2-231 to end continuous, ongoing,

systematic, unlawful discrimination or negligent practices engaged in by Defendant Six Flags

America and Defendant IBCCES against persons with disabilities.

                            THE INDIVIDUAL CLASS PLAINTIFF

       1.      Class Plaintiff Dunn is a resident of Dundalk, Maryland, residing at 3009 Liberty

Parkway, Dundalk, Maryland 21222. She is 20 years old and a full-time student, studying

veterinary science at Hampshire College. Class Plaintiff Dunn is disabled as that term is defined

by Prince George’s County Code § 2-200, et seq. Specifically, Class Plaintiff Dunn has a formal

diagnosis of and documented long-term treatment for severe generalized anxiety disorder,

associated compulsions, and debilitating panic attacks.

                                          THE DEFENDANTS

       2.      Six Flags America is an ongoing concern engaged in the business of owning and

operating an amusement park and entertainment venue that is open to the public in Prince




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George’s County, located at 13710 Central Avenue, Bowie, MD. That address is also where Six

Flags America maintains its principal place of business.

        3.     Six Flags America is a place of public accommodation as defined by the Code.

Six Flags America’s park is open to the public, sells food and alcoholic beverages for

consumption on the premises, and is a place of exhibition and entertainment at which patrons

may ride attractions, attend performances, and play games.

        4.     As a place of public accommodation, under the Code Six Flags America is

prohibited from acting on the basis of age, physical impairment, or mental impairment against

any person in such a way as to adversely affect that person’s access to the advantages, facilities,

or privileges offered by Six Flags America at its public park. Six Flags America is also

prohibited from denying service to any person on the basis of that person’s age, physical

impairment, or mental impairment. Any such acts constitute discriminatory conduct under the

Code.

        5.     IBCCES is a going concern engaged in the business of, among other things,

acting as a third-party administrator for disability screening and accommodation pre-approval

programs for amusement parks throughout North America. IBCCES is domiciled in Florida and

maintains its principal place of business at 54220 Lem Turner Road, Callahan, FL 32011.

IBCCES collects applications remotely via the internet for purposes of screening and approving

the requests for reasonable accommodations of disabled would-be patrons of Six Flags America’s

amusement park in Prince George’s County. IBCCES also engages in education, training, and

credentialing of Six Flags America as a business entity, generally, and Six Flags America’s in-

park staff specifically, all of which are located in Prince George’s County.




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       6.      As a private, for-profit business, IBCCES advertises itself as the “global leader in

professional autism & neurodiversity training and certification.” IBCCES provides services to

businesses across a spectrum of fields, including education, healthcare, public safety, and

employment, as well as amusement parks and other places of public accommodation. According

to its website, IBCCES provides online disability, inclusion, and accessibility training to Six

Flags America as well as operators of other places of public accommodation throughout North

America and beyond.

       7.      Such training for operators of places of public accommodation culminates in an

IBCCES certification. The process from an amusement park operator’s interest in disability

inclusion training to actual certification involves an operator of a place of public

accommodation: (a) signing up online for IBCCES training (completing an application); (b)

attending an online training; (c) taking a certification exam; and (d) obtaining a purported “board

approval” from IBCCES’s board.

       8.      IBCCES advertises to its potential amusement park operator clients that receiving

an IBCCES certification will provide (or has provided) benefits including: (a) “increase[ing]

market share”; (b) generating “millions of web hits” for operators; (c) “triple-digit increase[s] in

out-of-market guests”; and (d) increase[ing] “group bookings” by 54%. IBCCES gives short

shrift to the benefit its credentialing and screening services provide to disability patrons of

IBCCES’s clients.

       9.      IBCCES’s purported certifications carry no legal mandate from any governmental

entity, IBCCES’s practices are not subjected to any governmental oversight, and IBCCES’s

certifications have no basis or authority in law. IBCCES’s certification is thus unnecessary for a

place of public accommodation to meet its obligations to refrain from discriminatory practices.



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       10.     Nevertheless, IBCCES’s purported certification provides places of public

accommodation with a false and baseless sense of propriety in what are, under law,

discriminatory policies and acts. For example, places of public accommodation, like Six Flags

America, are incentivized and emboldened by their IBCCES certification to believe that their

discriminatory practices and discriminatory policies are lawful and inclusive when they are

exclusionary and improper barriers to entry. IBCCES certification also acts as a putative paper

shield for places of public accommodation against legitimate complaints of discriminatory

practices.

       11.     The Attraction Access Program is one such exclusionary and improper program

that establishes a barrier to entry which has contemporaneously become a public relations benefit

and discriminatory policy and practice of Six Flags America.

                           THE ATTRACTION ACCESS PROGRAM

       12.     The Attraction Access Program was created, and is administered, by IBCCES.

       13.     Since 2020, Six Flags America has required disabled persons seeking a reasonable

disability accommodation in its park to participate in what it calls the “Attraction Access Program”

(“the Program”).

       14.     The Program is a pre-screening, pre-approval, gatekeeping process that Six Flags

America requires as a matter of policy and practice before it will consider granting any disabled

persons reasonable accommodations within its park.

       15.     Six Flags America outsources the implementation of the Program to IBCCES,

which created the Program.




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       16.     Having no government mandate, and having no basis in any statute, regulation, or

other law, the Program is an illusory, ipse dixit, profit-generating pre-requisite established by

IBCCES against persons wishing to obtain any disability accommodation from Six Flags America.

       17.     Through the IBCCES, the Program requires persons seeking a disability

accommodation to meet certain disability eligibility criteria.

       18.     To meet those disability eligibility criteria, the Program application process

requires applicants to submit their private, confidential, and sometimes privileged medical and

mental health information to IBCCES. Such information includes a disabled applicants name,

home address, email address, and disability—for example: needing a wheelchair, having

difficulty hearing, having difficulty standing in line, or having sensitivity to crowds. Applicants

are required to provide the names of their physicians or behavioral health care providers as well

as the contact information of those providers. As support for this information, applicants must

also submit medical or mental health records on providers’ official letterhead to the IBCCES for

review. Applicants are also asked to state how they heard of the Program and to select the

amusement park they intend to visit within the next 12 months from among the 29 listed location

options. Applicants are also required to submit a photo of themselves.

       19.     The Program also has a strict time requirement. Disabled applicants must submit

their applications more than 48 hours prior to their park visit. After submission of their application,

applicants must be approved by IBCCES and IBCCES Attraction Access Card (“IAC”) before they

are permitted to seek reasonable accommodations at Six Flags America’s physical location.

       20.     If and when a person’s disability pre-screening application is approved by IBCCES,

IBCCES issues an IAC to the applicant.




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        21.     On its website, IBCCES states that an IAC is for “anyone who is requesting

accommodations – including but not limited to individuals who are autistic, use a wheelchair, are

blind/low vision, deaf/hard of hearing, have mobility support needs, are accompanied by a service

animal, have sensory sensitivities, cognitive disabilities, or have other needs and concerns.”

        22.     IBCCES states that the application is free to applicants, and all such information is

purported to be reviewed and verified by IBCCES.

        23.     Upon information and belief, IBCCES is compensated by Six Flags America for

administering the Program and the IAC application process.

        24.     Upon information and belief, if a person’s application is denied, there is no formal

process for independent review or appeal of IBCCES’s decision.

        25.     IBCCES states that the IAC is “meant to be accessed and completed prior to the

onsite visit to parks, [ ] to empower staff at attractions to better (and more quickly) serve guests

requiring additional support on-site, as well as ease the process for guests who need

accommodations but are eager to enjoy their time at the park.”

        26.     Despite that statement, and despite IAC applicants being required to submit

personal, confidential, and often privileged medical and behavioral health information before

receiving IAC approval from IBCCES, IBCCES is unequivocal that an IAC “does NOT

guarantee entry to an attraction and any special accommodations or benefits provided are at the

sole discretion of that attraction.” (capitalization in original).

        27.     In addition, despite IBCCES stating that the IAC is a “free resource,” once an

applicant advances to webpage three (3) of the application, IBCCES states that, “there may also

be an additional charge for these services.” Information regarding neither the dollar amount of

the potential additional charges nor who charges and collects such amounts is provided.



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       28.     IBCCES further advises applicants, also three (3) pages into the online application

process: (a) that the IAC is “only notice of a disability and/or special needs based on the

information the parent or guardian provides IBCCES;” (b) that the IAC “can only be accepted at

a Facility that is participating in the IAC program and in good standing with IBCCES;” and (c)

that an individual public amusement park may (the issuance of an IAC notwithstanding) “require

additional information from [applicants] in order to substantiate the disability or special

need.” (all emphasis added).

                      IAC AS SOLELY A PUBLIC RELATIONS GESTURE

       29.     Six Flags America’s discriminatory disability screening process is touted as

beneficial by IBCCES and viewed as beneficial by Six Flags America’s public relations

department. When Six Flags America obtained its IBCCES certification, Six Flags America

issued a press release advertising its first-in-the-area IBCCES certification status. Six Flags

America referred to itself in that release as, “proud to be a leader in offering more ways for

families in the DMV to create memorable experiences. . .[w]ith enhanced training, our all-new

ride safety harness system and new sensory-sensitive operating days, more families will be able

to enjoy the park in new, better ways than ever before.”

       30.     Six Flags America further advertised that because of its IBCCES training and

certification, it would be able to provide guests with autism and other disabilities: “(a) [tr]ained,

helpful, front-line team members equipped to help autistic guests and those with sensory

sensitivities to help them enjoy their time at the park; (b) [a] sensory guide for every attraction

that provides information into how the attraction or ride may be affected by each of the five

senses to make it easier for individuals and families to plan activities that align with their needs;

(c) [l]ow sensory areas to allow guests with sensory sensitivities to take a break in a less



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stimulating environment; (d) that [a]n updated Accessibility Guide would be available online and

at the Guest Services area; and (e) a park-wide IBCCES Accessibility Card program, which Six

Flags America described as a free online program with mobile app options for guests to use when

requesting help at Six Flags America’s park.

       31.     Despite Six Flags America’s statements that the Program and IAC would make

park patronage easier for disabled park visitors, the IAC and its associated proof of disability

prerequisites are merely a necessary hurdle to be overcome by disabled persons wishing to

request an accommodation. An applicant’s mere approval through the Program and receipt of an

IAC are, however, insufficient to receive an accommodation.

       32.     According to IBCCES, Six Flags America’s park administration and in-park staff

ultimately have the sole “discretion” whether or not to grant a disabled person a requested

accommodation, even if such persons have been approved for and received an IAC.

       33.     Despite thus being essentially meaningless, the IAC card issued by IBCCES

purportedly, according to IBCCES, creates a “legal contract” between IBCCES and the

applicant. The terms by which either IBCCES or the applicants are bound purportedly pertain

only to exculpating IBCCES from liability despite—since the IAC offers no definite benefits and

carries no independent authority under any law—the contract’s illusory nature.

       34.     In addition, the IAC application and so-called “legal contract” purport to permit

IBCCES to collect information from applicants while providing neither any definite benefit nor

any recourse to any applicants in the event of IBCCES’s improper use of the sensitive personal,

confidential, and privileged information IBCCES demands for its discriminatory Program.

       35.     IBCCES falsely purports to review and validate information provided by

applicants. After submission of all requested information, however, applicants are directed



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immediately to a page on IBCCES’s website that contains a link for the applicant to download a

newly issued IAC.

        36.       On that immediately issued IAC, several “Important Information” bullet points

are provided. They include, among other things, the following conditions: (a) that the purpose of

the IAC is to “pre-register [an applicant] as an individual who may need accommodations

(emphasis added); (b) that the IAC “does not guarantee any benefits or accommodations”

because such accommodations are “at the sole discretion of the attraction;” and (c) that the IAC

must be presented at the Guest Services desk of Six Flags America upon an applicant’s arrival

“for details about what accommodations may be available.”

                        IN-PARK IMPLEMENTATION OF THE PROGRAM

        37.       If a disabled would-be Six Flags America patron timely applies for an IAC,

submits the required medical and mental health information and documentary support, and is

“approved” by IBCCES, the approved applicant is then permitted to take the IAC to Guest

Services at Six Flags America where the IAC must be presented to a Six Flags America

representative.

        38.       Presentation of the IAC to Guest Services must be done immediately upon arrival

at the park.

        39.       At Guest Services, the IAC holder is then permitted to request an accommodation

from the Six Flags America Guest Services representative.

        40.       Upon receiving a request from an IAC holder, the Guest Services representative

will then inform the IAC holder whether or not any accommodations are available, what those

accommodations are, and, if applicable, when those accommodations may be accessed. For

example, time restrictions and boarding times may be provided for IAC holders who are unable



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to stand for long periods of time or have a sensitivity to large, close crowds but who nevertheless

wish to ride a park attraction.

       41.     Upon information and belief, park staff who are purportedly trained by IBCCES

and Six Flags America in communicating and assisting park patrons with neurodiverse,

cognitive, emotional, or physical impairments are empowered to review the IAC and requested

accommodation, and determine on an ad hoc, subjective basis whether the person is entitled to

the accommodation he or she seeks.

       42.     So empowered, or negligently trained and thus unaware that they are not so

empowered, park staff deny accommodations that should be permitted to persons who have

obtained an IAC under the discriminatory Program and to persons who are entitled to an

accommodation but have not obtained an IAC through the unlawful and discriminatory Program.

    NON-DISCRIMINATORY DISABILITY ACCOMODATION PROGRAMS OF OTHER
                       LARGE AMUSEMENT PARKS

       43.     Because of its discriminatory and unlawful nature, such major amusement parks

as Disney World, Disney Land, and Universal Studios have abandoned the IAC Program, or

similar discriminatory programs, in favor of non-discriminatory, inclusive, and lawful disability

accommodation programs.

       44.     Non-discriminatory accommodation programs, such as those at Disney and

Universal, are programs that evaluate accommodation requests immediately, in-person, and

without requiring documentary support. In addition, non-discriminatory accommodation

programs do not require the presentation of proof of a disability or any pre-approval, pre-

screening, or pre-visit registration. Such programs do not employ the use of third-party, for-profit

accommodation gatekeepers. Under a non-discriminatory accommodation program, trained in-

park staff are permitted to grant accommodations on an ad hoc, individualized basis based upon

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their observation of park patrons; trained staff are not, however, permitted to challenge a park

patron’s representation of having a disability that necessitates a reasonable accommodation.

Finally, a non-discriminatory accommodation program is one that is clear as to its terms, and

compliant with those terms in its application due to the competent, non-negligent training of park

staff.

         45.   Six Flags America’s Program, its reliance on the IAC, and IBCCES as third-party

fail to exhibit of the features of a non-discriminatory disability accommodation program.

         46.   The acts of Six Flags America and IBCCES with respect to gatekeeping,

screening, and approving or denying requested accommodations as a matter of policy and on an

ad hoc, basis constitute discrimination. The Program, the IAC, and the implantation by park staff

of the Defendants’ disability policies creates a differentiation in the ability of disabled persons

and non-disabled persons ability to similarly enjoy the services, privileges, use, enjoyment, and

accommodations of the park. Non-disabled persons are neither required to apply for entry to the

park prior to visiting the park, are not required to submit documentation showing entitlement to

entry to the park, have no time advance time requirement by which they must decide whether

they wish to visit the park, nor do they have their entry to the park or enjoyment of any portion

thereof conditioned on any external vetting and gatekeeping process.

                                            THE CLASS

         47.   Member of the Class are: (1) all persons who applied for an IAC with respect to

Six Flags America between May 7, 2022, and the present, whether they were approved or denied

for the IAC; (2) all persons who were denied a reasonable accommodation at Six Flags America

by Guest Services at the park because they had not timely obtained an IAC prior to arrival; (3) all

persons who were denied a reasonable accommodation by Six Flags America’s in-park staff



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because such persons did not have an IAC; and (4) all persons who were denied a reasonable

accommodation by Six Flags America’s Guest Services or in-park staff because such persons,

whether or not they had an IAC, did not appear to in-park staff to have a disability that would

entitle such persons to an accommodation.

        48.     This action is appropriate for class certification because it meets the class action

requirements of numerosity, commonality, typicality, and adequacy.

        49.     Numerosity. The members of the Class are so numerous that their joinder is

impractical. Upon information and belief, approximately 1,300,000 patrons visit Six Flags

America each calendar year. According to the Maryland Department of Planning, as of a 2023

report approximately 11.6% of all Marylanders live with a diagnosed disability and

approximately 11.1% of all Prince George’s County residents live with a disability. The

Maryland Department of Health estimates that one in five Maryland adults has one or more

disabilities, including (a) cognitive disabilities; (b) mobility disabilities; (c) vision disabilities;

(d) hearing disabilities; (e) self-care disability; and (f) independent living disabilities. Based

upon and extrapolating from those government estimates, upon information and belief, as many

as approximately 390,000 disabled persons have visited or attempted to visit Six Flags America

since May 7, 2022. Those approximately 390,000 persons are members of the Class. Each time

any such disabled Maryland resident wishes to visit Six Flags America’s Bowie location, such

persons are unlawfully denied equal access to the park as non-disabled persons based upon

IBCCES and Six Flags America’s IAC Program.

        50.     Commonality. There are significant questions of law and fact in this action that are

common to the Class: specifically, (a) whether the Attraction Access Program is discriminatory

as that term is defined by Prince George’s County Code §§ 2-186 and §2-200, et seq; (b) whether



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the IAC application and screening process is discriminatory under the Prince George’s County

Code; (c) whether Six Flags America’s retained discretion to deny disability accommodations

under both the Attraction Access Program and the IAC is discriminatory under the Prince

George’s County Code; (d) whether requiring disabled guests to check in with Guest Services to

determine whether and to what extent disability accommodations may be available is

discriminatory; and (e) whether Six Flags America’s in-park staff exercising their personal

discretion to deny accommodations to disabled park patrons—based upon an improperly

discriminatory policy or upon Six Flags America’s failure to properly train its employees on how

to avoid discriminating against disabled patrons in the park—is discriminatory, negligent, or

both.

        51.    Typicality. The claims of Class Plaintiff Dunn as a representative party are typical

of and similar to the claims of all members of the Class. Class Plaintiff Dunn is disabled with a

mental impairment that, without the assistance of a service animal, materially impacts her day-

to-day activities. Class Plaintiff Dunn has a well-established, continuous record of professional

behavioral health treatment for her disability. Class Plaintiff Dunn’s experience of discrimination

at Six Flags America encompasses the full range of discriminatory behavior this Class Action

seeks to address. First, Class Plaintiff Dunn was expelled from Six Flags America’s park because

she was accompanied in the park by her service animal, which is trained to alert Class Plaintiff

Dunn to debilitating panic attacks (i.e., Six Flags America denied an appropriate disability

accommodation). Second, prior to her expulsion Class Plaintiff Dunn was questioned

exhaustively regarding the nature and extent of her disability (i.e., without justification, Six Flags

America challenged and doubted Class Plaintiff Dunn’s disability status, even after being

provided with disability information from the disabled person). Third, despite Six Flags



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America’s express acknowledgment on its website that service animals are permitted in the park,

the in-park staff stated unequivocally to Class Plaintiff Dunn that panic attack dogs are not the

“kind of” service animals that are permitted in the park (i.e., the in-park employees exercised

their personal discretion in determining whether an appropriate and recognized disability

accommodation would be granted to a particular disabled park patron). Fourth, Class Plaintiff

Dunn was told that based upon her age (i.e., a personal characteristic irrelevant to a person’s

disability) that she could not possibly have the disabling anxiety and panic attacks for which she

was assisted by her service animal (i.e., also an exercise of discretion by an in-park employee

based upon personal opinion and observation of an immutable characteristic). Fourth, and

finally, Class Plaintiff Dunn was told by Six Flags America’s employees that, even if all Class

Plaintiff Dunn said were true regarding her disability and her service animal, she was

nevertheless not permitted an on-site accommodation because she had not obtained an IAC from

IBCCES more than 48 hours prior to her visit (i.e., even with a genuine disability and an

appropriate, associated accommodation request, disabled persons must plan in advance and share

sensitive personal mental health and medical information with a third-party screener and

gatekeeper prior to their visit, unlike non-disabled park patrons).

       52.     Adequacy of Representation. As a representative party, Class Plaintiff Dunn will

fairly and adequately protect the interests of the Class because her interests in prosecuting this

action are aligned with the interests of all other members of the Class. Class Plaintiff Dunn seeks

the invalidation of IBCCES and Six Flags America’s Attraction Accessibility Program, the IAC,

and Six Flags America’s in-park policies. She also seeks injunctive and monetary relief for

herself and all persons who have been similarly discriminated against by Six Flags America.

Class Plaintiff Dunn also seeks monetary damages on behalf of herself and all Class members



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who were unlawfully treated by in-park staff, in violation of IBCCES and Six Flags America

policies due to negligent training of such staff members by Defendants. Class Plaintiff Dunn’s

interest are also fully aligned with all members of the Class because Class Plaintiff Dunn

experienced a full range of discriminatory and negligent conduct across a number of wrongful

and discriminatory acts by IBCCES and Six Flags America. Thus, Class Plaintiff Dunn is

particularly well situated to adequately represent the interests of members of the Class.

                          MAINTENANCE OF THIS CLASS ACTION

       53.     This action is properly maintained as a class action under Rule 2-231(c)(3)

because the questions of law and fact common to the members of the Class predominate over any

questions affecting only individual members of the Class. Therefore, this Class Action is superior

to other available methods available—such as myriad separate lawsuits with inconsistent

resolutions—for achieving the fair and efficient adjudication of the claims and issues in

controversy in this action. While the nature and extent of any one Class member’s disability and

experience of discrimination or negligent conduct by Six Flags America and IBCCES may differ

factually from person to person, the primary and overarching questions to be resolved in this

action are those of law; in short, whether the practices of Six Flags and IBCCES are

discriminatory in requiring generally and in implementing specifically the Attraction Access

Program, the IAC process, and permitting the exercise of discretion by in-park employees as

pertains to denying accommodation sought by disabled patrons at the park.

                        THE DESIRABILITY OF THE CLASS ACTION

       54.     It is desirable and most efficient to adjudicate by class action the claims and

resolve the issues common to all members of the Class raised in this action.




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         55.      First, any interest members of the Class may have in individually controlling the

prosecution of separate actions is minimal because on an individual basis the liability, monetary

or otherwise, of Six Flags America or IBCCES to any one member of the Class is relatively

limited and thus likely to dissuade independent litigation against Defendants by members of the

Class.

         56.      Second, a review of Maryland Case Search and PACER reveal no actions brought

against Six Flags America or IBCCES in any Maryland or any federal venue on the claims raised

in this action.

         57.      Third, it is desirable to concentrate litigation of the claims and issues raised in

this action in Prince Geroge’s County Circuit Court because: (a) Defendant Six Flags America’s

principal office is in Prince Geroge’s County; (b) the place of public accommodation at issue is

in Prince George’s County, and (c) all members of the Class were discriminated against in Prince

George’s County by Six Flags America and IBCCES. Therefore, and in addition, upon

information and belief, most of the members of the Class, as well as witnesses, for both

Plaintiff’s witnesses and Defendant’s, reside in Prince George’s County, Maryland specifically,

or the State of Maryland generally.

         58.      Fourth, it is unlikely that any difficulties will be encountered in the management

of this class action. Class Plaintiff Dunn intends to aggressively, vigorously, and expeditiously

pursue her interests and the interests of the members of the Class in this action. It is expected that

the majority of the members of the Class are local to this jurisdiction, residing in the State of

Maryland—including in Prince George’s County. In addition, the issues of law in this case are

concentrated and concern a discriminatory practice that is uniformly—albeit discriminatorily—

applicable, or negligently applied, to all members of the Class.



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              THE CLAIMS OF CLASS PLAINTIFF DUNN ON BEHALF OF HERSELF

        59.     Class Plaintiff Dunn has a history of trauma, anxiety, and panic attacks since

childhood. She is currently twenty years of age.

        60.     Class Plaintiff Dunn is disabled as defined under the Prince George’s County

Code § 2-186. She has a well-documented mental impairment that substantially limits one or

more of her major life activities. She has a record of such impairment dating back to 2016—

when her well-documented treatment for that impairment began. Class Plaintiff Dunn is regarded

by her doctors and therapists as having a mental impairment that substantially limits one or more

of her major life activities, including generalized anxiety disorder and debilitating panic attacks.

        61.     In 2016, Class Plaintiff Dunn was first seen for her mental impairment at the

Linden Clinic of the New York Psychotherapy and Counseling Center. There, she was diagnosed

with severe anxiety and associated compulsions. Class Plaintiff Dunn was then experiencing

increased anxiety, self-isolative behaviors, sporadic bursts of energy, irritability, loss of appetite,

some worrying, difficulty concentrating, self-blaming, and some insomnia, as well as shortness

of breath, heart palpitations triggered by new experiences, and generalized future-oriented worry.

Based upon those symptoms, Class Plaintiff Dunn was diagnosed with generalized anxiety

disorder.

        62.     One triggering activity of Class Plaintiff Dunn’s symptoms was, and continues to

be, going to new places and meeting new people.

        63.     After her initial diagnosis, Class Plaintiff Dunn continued her professional

behavioral health treatment at the New York Interborough Development & Consultation Center.

There, her diagnosis of generalized anxiety disorder was confirmed and reiterated.




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       64.       Presently, Class Plaintiff Dunn’s behavioral health treatment continues under the

ongoing professional care of a therapist at Hampshire College, where Class Plaintiff Dunn

attends school and studies veterinary science. That therapist has confirmed and reiterated Class

Plaintiff Dunn’s generalized anxiety disorder diagnosis.

       65.       At present, and since her initial diagnosis of generalized anxiety disorder, one of

the manifestations of Class Plaintiff Dunn’s anxiety is the sudden occurrence of debilitating

panic attacks.

       66.       To mitigate the debilitating nature of those panic attacks, and after consultation

with her treating behavioral health care providers, Class Plaintiff Dunn determined that a service

dog that could alert her to oncoming panic attacks would benefit Class Plaintiff Dunn by

assisting her in managing the effects of her mental impairment without medication, which would

be accompanied by side effects.

       67.       Class Plaintiff Dunn thus sought, obtained, and trained a service dog for that

purpose.

       68.       Class Plaintiff Dunn’s service dog meets the criteria to be considered a service

animal. Class Plaintiff Dunn’s service dog is trained to observe Class Plaintiff Dunn for

symptoms of anxiety and oncoming panic attacks. Her service dog is further trained to alert Class

Plaintiff Dunn to the potential for an oncoming panic attack. In response to her service dog’s

alerts, Class Plaintiff Dunn is reminded to pay attention to what she is feeling, experiencing, and

thinking; doing so allows her either to prevent the onset of the panic attack, reduce its severity, or

take protective measures (such as sitting down) to avoid physical injury in the event the panic

attack cannot be stopped, is particularly severe, or causes Class Plaintiff Dunn to lose

consciousness.



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       69.     As such, Class Plaintiff Dunn’s service dog is a working dog—trained to perform

a distinct task to assist Class Plaintiff Dunn in living with her mental impairment.

       70.     Her dog is not a pet.

       71.     On June 7, 2024, Class Plaintiff Dunn lawfully entered Six Flags America’s park

with a valid ticket along with her girlfriend, family, and service dog. Class Plaintiff Dunn’s

service dog was adorned in a service dog vest, which, although not required, is helpful to notify

others of the dog’s purpose. Class Plaintiff Dunn and her service dog went through security

without incident and were permitted entry into the park.

       72.     Class Plaintiff Dunn had not applied for an IAC and therefore did not have an

IAC.

       73.     At approximately 12:30 p.m. on June 7, 2024, Class Plaintiff Dunn’s service dog

was sitting in a wagon and attended by Class Plaintiff Dunn’s sister while Class Plaintiff Dunn

was waiting to ride an attraction.

       74.     When Class Plaintiff Dunn returned to her sister’s location, representatives of Six

Flags America’s in-park staff were present.

       75.     Those staff representatives extensively and improperly questioned Class Plaintiff

Dunn about her disability and her service dog.

       76.     Those staff representatives also informed Class Plaintiff Dunn that her service dog

was purportedly not permitted in the park.

       77.     Class Plaintiff Dunn attempted to inform Six Flags America’s staff representatives

that her dog was a trained panic attack alert dog.

       78.     In response, Six Flags America’s staff representatives wrongfully informed Class

Plaintiff Dunn that panic attack alert service animals were not allowed in the park.



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       79.     Contrary to its staff’s statements to Class Plaintiff Dunn, Six Flags America

explicitly recognizes in a statement on its website that dogs (as well as other animals, including

miniature horses) that are trained to calm persons during panic attacks are “working animals, not

pets” and are thus permitted in the park.

       80.      Six Flags America’s in-park representatives also told Class Plaintiff Dunn that

she was “too young for a service dog” and by implication too young to be suffering from the

mental impairment for which she has been diagnosed and treated since 2016.

       81.     Six Flags America’s in-park representatives further informed Class Plaintiff Dunn

that even if all she said were true regarding her mental impairment and her dog’s service animal

status, Class Plaintiff Dunn could not request an accommodation onsite. Instead, Six Flags

America’s staff said, to be permitted to bring her service animal into the park Class Plaintiff

Dunn was required to be screened and pre-approved by IBCCES for an IAC no less than 48

hours prior to her visit. Only then would she be permitted, and required, to bring that IAC to

Guest Services for service animal approval upon arrival at the park.

       82.     Class Plaintiff Dunn was then threatened with criminal trespass by Six Flags

America’s in-park representatives and directed to select between three options: (1) leave the park

immediately with no refund; (2) place the service animal in Ms. Dunn’s vehicle parked in Six

Flags America’ parking lot; or (3) get a rain check. After approximately two hours of

discriminatory, humiliating, and improper discussion, Class Plaintiff Dunn, having been

presented with three unacceptable choices, left the park while her family stayed at the park.

       83.      Six Flags America is responsible for the policies and programs it implements, for

the requirements it purports to impose upon its disabled guests, and for the actions, conduct, and

statements of its park employees—even when improper, inaccurate, or discriminatory.



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        84.    IBCCES is responsible for implementing and imposing the discriminatory IAC

Program followed by Six Flags America, resulting in discriminatory conduct.

        85.     Six Flags America’ ejection of Class Plaintiff Dunn from its park because of

Class Plaintiff Dunn’s trained service animal accompanying her for purposes of alerting her to

panic attacks is an unlawful act of discrimination because that ejectment was based solely on

Class Plaintiff Dunn’s need for a service animal that assists her with a recognized disability.

        86.    That ejectment denied Class Plaintiff Dunn the accommodations, advantages,

facilities, and privileges enjoyed by others who, not having a mental impairment or other

disability, do not require the assistance of a service dog to enjoy Six Flags America’s public

facilities.

        87.    The statement of Six Flags America’ representative that Class Plaintiff Dunn was

“too young” to require the assistance of a service dog was also, and separately, discriminatory

because the statement implies that if Class Plaintiff Dunn was older, and therefore “old enough,”

or otherwise appeared differently, she might then require the assistance of service dog for her

mental impairment and only then be permitted to be accompanied by her service animal.

        88.    According to Six Flags America’s park staff, under that theory, were Class

Plaintiff Dunn’s observable, immutable characteristics different than they were, Class Plaintiff

Dunn would not have been ejected from the park because she would have appeared to require

her service dog, which staff would then have permitted.

        89.    As a result of the discriminatory acts and policies of Six Flags America and

IBCCES, or the negligent conduct of Six Flags America’s staff, Class Plaintiff Dunn was denied

the full facilities, use, accommodations and privileges of Six Flags America’s public park; she

was embarrassed and humiliated in front of her girlfriend, family, and onlookers present at Six



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Flags America’s public park; and she was mentally and emotionally negatively impacted by her

ejectment from the park.

  COUNT I—VIOLATION OF PRINCE GEORGE’S COUNTY CODE §§ 2-200, et seq.
          (Jointly and Severally Against Six Flags America and IBCCES)

        90.    The foregoing paragraphs 1 through 89 are incorporated as if fully restated here.

        91.    Class Plaintiff Dunn is disabled as defined under the Prince George’s County

Code.

        92.    Class Plaintiff Dunn being accompanied by her service animal at Six Flags

America’s public park is a reasonable and appropriate disability accommodation.

        93.    Class Plaintiff Dunn was denied that reasonable and appropriate disability

accommodation, despite her genuine disability.

        94.    Class Plaintiff Dunn was informed by Six Flags America in-park staff that,

because they believed she did not appear (i.e., was not old enough) to be disabled, she was not

entitled to a disability accommodation.

        95.    That discretionary decision based upon personal opinion and observations by in-

park staff was improper and discriminatory.

        96.    Class Plaintiff Dunn was further informed by Six Flags America’s staff, either

because they were improperly trained or because they were authorized to make discretionary, in-

park determinations that service animals such as Class Plaintiff Dunn’s were not permitted in the

park.

        97.    That statement was a false representation of Six Flags America’s policy and

unlawfully discriminatory against Class Plaintiff Dunn as a person requiring a particular type of

disability accommodation.




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        98.    Class Plaintiff Dunn was further informed that, even if she did have a disability,

and even if her service animal was of the kind permitted in the park, no less than 48 hours prior

to her visit she first was required to apply and be screened by the IBCCES for an IAC to get pre-

approved for her disability before requesting an accommodation.

        99.    Six Flags America is vicariously liable for the conduct of its employees within the

park.

        100.   Had Class Plaintiff Dunn obtained such pre-approval 48 hours prior to her visit,

then she would have been permitted—after buying a ticket, traveling to the park, and meeting

with a Guest Services representative—to request a disability accommodation. Whether that

request might have been granted would have been in the sole and complete discretion of the Six

Flags America staff member making the accommodation decision at Guest Services or evaluating

Class Plaintiff Dunn inside the park throughout the day.

        101.   The requirement that Class Plaintiff Dunn or any person similarly situated be

required to apply and be screened for a disability pre-approval by submitting sensitive personal

information before requesting a disability accommodation is discriminatory under the Prince

George’s County Code.

        102.   IBCCES and Six Flags America’s IAC requirements imposed on persons with

disabilities as a prerequisite to seeking reasonable disability accommodations as compared to Six

Flags America’s treatment of persons who visit the park and do not have a disability constitutes

discrimination in violation of Prince George’s County Code § 2-200, et seq.

        103.   By requiring persons with disabilities in need of accommodations to obtain an

IAC 48 hours in advance of their visit to the park, disabled persons are stripped of their ability to

decide to visit Six Flags America’s park spontaneously.



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       104.    Six Flags America’s IAC policy also prevents disabled would-be park goers who

comply with the IAC policy from knowing whether, in fact, they will be granted any disability

accommodations until they get to the park and speak to Guest Services as to the existence and

extent of any available accommodations. Such park-goers are nonetheless still subject to a denial

of disability accommodations on a case by case, person by person determination, made in the

sole discretion of individual in-park staff members.

       105.    Unlike persons who intend to visit Six Flags America’ park who are not disabled

and can enjoy the park and its attraction as they deem appropriate, at every step of their visit to

Six Flags America (from the IAC application process to Guest Services to their time in the park),

disabled would-be park goers are denied the same accommodations, advantages, facilities, and

privileges afforded by Six Flags America to its non-disabled patrons. Disabled park goers and

would-be park goers are faced with ipse dixit pre-requisite after pre-requisite before being

granted any appropriate disability accommodation; pre-requisites to which non-disabled park

goers are not subjected.

       106.    Once in the park, even with an IAC and after consulting with Guest Services,

disabled guests are nonetheless subject to the evaluative discretion of Six Flags America’s in-

park staff who are empowered to make, or not sufficiently trained to know they cannot make,

subjective determinations as to who is and who is not disabled or entitled to a disability

accommodation.

       107.    IBCCES is jointly and severally responsible for Six Flags America’s

discriminatory policies because IBCCES created such policies, assisted Six Flags America in

implementing such policies, and trained Six Flags America’s staff on carrying out those policies

on a day-to-day basis inside the park with park patrons.



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       108.    In discriminating against Class Plaintiff Dunn and all persons similarly situated to

her, Six Flags America and IBCCES acted both independently and concurrently, causing the

indivisible injury of discriminatory treatment and ultimately denial of access to a place of public

accommodation, the use and enjoyment thereof, and associated embarrassment, indignity, and

mental and emotional anguish of that discrimination.

       WHEREFORE, Class Plaintiff Dunn demands on behalf of herself and all persons

similarly situated:

      (A)      That the court certify this action as a class action;

      (B)      That the court permanently enjoin Defendant Six Flags America and IBCCES

from discriminating against Class Plaintiff Dunn and all persons similarly situated by:

                        i.     Ceasing to require disabled persons to obtain an IAC prior to

               visiting Six Flags America’s park;

                      ii.      Ceasing to require disabled persons to visit Guest Services to

               determine whether and to what extent Six Flags America will offer reasonable

               disability accommodations;

                      iii.     Ceasing to ask discriminatory questions of patrons who represent

               that they are disabled, including questions regarding the nature and extent of

               patrons’ disabilities;

                      iv.      Ceasing to ask discriminatory questions of disabled patrons

               concerning the nature and extent of the services provided by their services

               animals, other than whether an animal is in fact a service animal;




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                     v.        Removing from park employees any discretion they may now have

               to revoke or limit a disabled person’s right to seek or obtain an accommodation to

               enjoy the park in the same manner as persons without a disability;

       (C)     That Class Plaintiff Dunn and all persons similarly situated be awarded

compensatory damages against Six Flags America and IBCCES, jointly and severally, in an

amount exceeding $75,000.00, plus interest and costs;

       (D)     That Six Flags America and IBCCES be ordered to pay all reasonable and

necessary attorneys’ fees incurred in the prosecution of this action; and

       (E)     That Class Plaintiff Dunn and all members of the Class be granted all such further

relief as the facts, circumstances, and nature of this action may require.

                                    COUNT II—NEGLIGENCE
               (Jointly and Severally Against Six Flags America and IBCCES)

       109.    In addition, or in the alternative, to Count I the foregoing paragraphs 1 to 89 are

incorporated as if fully restated here.

       110.    Six Flags America has a publicly advertised policy whereby persons with

generalized anxiety disorder and other behavioral health conditions that result in panic attacks

are permitted to enter the park and remain in the park with a service animal trained to alert or

otherwise assist such persons with their panic attacks.

       111.    Six Flags America is aware that such animals are not pets.

       112.    Non-disabled persons are not permitted to enter or remain in the park with pets.

       113.    IBCCES is a for-profit, private entity that engages in the purported credentialing,

certification, and training of places of public accommodation for purposes of creating and

implementing non-discriminatory policies and training the staff of such places to lawfully and

properly implement and carry out non-discriminatory policies related to persons with

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disabilities—including the allowance of reasonable accommodations to such persons in Six Flags

America’s park.

       114.    As such, IBCCES had and continues to have a duty act reasonably and with due

care, skill, and diligence in creating policies related to disabled persons and Six Flags America’s

treatment of such persons in the park.

       115.     IBCCES also had and continues to have a duty to act reasonably and with due

care, skill, and diligence in training Six Flags America’s employees in understanding and

implementing non-discriminatory policies with regard to disabled persons inside the park.

       116.    Six Flags America also has a duty to act reasonably and with due care, skill, and

diligence in adopting policies created and suggested by IBCCES related to Six Flags America’s

treatment of disabled persons within the park.

       117.    Six Flags America has an additional duty to act reasonably and with due care,

skill, and diligence in ensuring its staff understand park policies with regard to disabled persons

and that its staff are properly trained on the in-park implementation of those policies.

       118.    IBCCES breached its duties by either (a) creating policies that resulted in the

improper ejection of persons with service animals from Six Flags America’s park; (b) failing to

train Six Flags America’s staff on the proper implementation of policies related to disabled

persons with service animals in the park; or (c) both.

       119.    Six Flags America also breached its duties by either (a) adopting IBCCES policies

that resulted in the improper ejection of persons with service animals from Six Flags America’s

park; (b) failing to train Six Flags America’s staff on the proper implementation of policies

related to disabled persons with service animals in the park; (c) both.




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       120.    Class Plaintiff Dunn and all persons similarly situated are within the category of

persons that the duties imposed upon Six Flags America and IBCCES are intended to protect.

       121.    IBCCES’s primary purpose is to ensure that its clients (including Six Flags

America) adopt lawful disability policies and implement such policies appropriately within

places of public accommodation to avoid the wrongful treatment of disabled persons.

       122.    Six Flags America’s primary purpose in adopting and implementing the policies

created by IBCCES was to ensure that Six Flags America followed lawful disability policies and

that such policies were implemented properly within its park to avoid the wrongful treatment of

disabled persons by its staff.

       123.    Thus, it was or should have been foreseeable to both IBCCES and Six Flags

America that failing to properly train Six Flags America’s in-park staff on lawful disability

policies and their implementation would result in the wrongful treatment of disabled persons,

including wrongfully ejecting such persons.

       124.    The failure to properly train Six Flags America’s staff did, in fact, result in the

wrongful treatment of a disabled person when Class Plaintiff Dunn was wrongfully ejected from

the park for being accompanied by her service animal despite Six Flags America’s express policy

that service animals were permitted in the park.

       125.    Upon information and belief, other persons similarly situated to Class Plaintiff

Dunn—whether on the basis of the presence of a service animal or other condition—were

wrongfully ejected from the park or otherwise denied access to the use and privileges of the park

due to the wrongful in-park implementation of Six Flags America’s policies regarding disabled

persons.




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        126.   In acting negligently as described in this Count, Six Flags America and IBCCES

acted both independently and in concurrently, causing an indivisible injury to Class Plaintiff

Dunn and all persons similarly situated by treating them wrongfully in denying them access to

the benefits, privileges, use, and enjoyment of the park.

        127.   As a result of the independent and concurrent negligence of Six Flags and

IBCCES, Class Plaintiff Dunn and all persons similarly situated were injured insofar as they

were denied the use, enjoyment, benefits, and privileges of the park, as well as the public and

private embarrassment, humiliation, indignity, insult, as well as general mental and emotional

distress.

        WHEREFORE, Class Plaintiff Dunn demands on behalf of herself and all persons

similarly situated:

       (F)     That the court certify this action as a class action;

        (G)    That Class Plaintiff Dunn and all persons similarly situated be awarded

compensatory damages against Six Flags America and IBCCES, jointly and severally, in an

amount exceeding $75,000.00, plus interest and costs;

        (H)    That Six Flags America and IBCCES be ordered to pay all reasonable and

necessary attorneys’ fees incurred in the prosecution of this action; and

        (I)    That Class Plaintiff Dunn and all members of the Class be granted all such further

relief as the facts, circumstances, and nature of this action may require.


                                                       Respectfully submitted,



                                                       ___/s/ Clifford J. Boan________
                                                       Clifford J. Boan, Esq. (AIS#1012140066)
                                                       4550 Montgomery Ave., Ste 760N

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                                    JURY TRIAL DEMAND

       On behalf of herself and all persons similarly situated, Class Plaintiff Dunn hereby

demands a trial by jury.



                                             /s/ Clifford J. Boan_______
                                             Clifford J. Boan




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